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Of Attorneys for Defendants City of Portland
and Samson Ajir




                             UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION


ALICIA JOHNSON, in her personal                       3:19-cv-00735-JR
capacity and as personal representative of
the Estate of Terrell Johnson, TERRELL
JOHNSON, deceased.                                    STIPULATED GENERAL JUDGMENT
                                                      OF DISMISSAL
               Plaintiffs,

       v.

CITY OF PORTLAND; SAMSON AJIR;
and JOHN DOES 1-5,

               Defendants.



       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, plaintiff and

defendants hereby stipulate as follows:

       1.      For the reason that plaintiff’s Complaint has been fully compromised and

released, plaintiff hereby dismisses her Complaint in the above-captioned matter.

///

///
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                                    PORTLAND CITY ATTORNEY’S OFFICE
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         2.    All parties hereto agree that the dismissal stipulated herein is with prejudice, and

that no costs or disbursements or attorneys’ fees will be assessed against any party.

         IT IS SO STIPULATED:


/s/ Juan C. Chavez                                        /s/ Robert Yamachika
Juan C. Chavez, OSB #136428                               Robert Yamachika, OSB #065560
Alex Meggitt, OSB #174131                                 Of Attorneys for Defendants City of
Of Attorneys for Plaintiff                                Portland and Samson Ajir

Dated:         July 23, 2021                              Dated:          July 23, 2021



         IT IS SO ORDERED AND ADJUDGED:



Dated: _______________________
             7/26/2021                                     ______________________________
                                                            /s/ Jolie A. Russo
                                                           Jolie A. Russo
                                                           U.S. Magistrate Judge




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